        Case 4:21-cv-01026-BSM Document 4 Filed 11/09/21 Page 1 of 2




                   IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF ARKANSAS
                             CENTRAL DIVISION

NAKIA S. GIBBS, et al.                                          PLAINTIFFS

v.                       Case Nos. 4:21-cv-01021-KGB
                                   4:21-cv-01022-KGB
                                   4:21-cv-01023-KGB
                                   4:21-cv-01024-KGB
                                   4:21-cv-01025-KGB
                                   4:21-cv-01026-KGB
                                   4:21-cv-01027-KGB
                                   4:21-cv-01028-KGB
                                   4:21-cv-01029-KGB
                                   4:21-cv-01030-KGB
                                   4:21-cv-01031-KGB
                                   4:21-cv-01032-KGB
                                   4:21-cv-01033-KGB
                                   4:21-cv-01035-KGB
                                   4:21-cv-01036-KGB
                                   4:21-cv-01037-KGB
                                   4:21-cv-01038-KGB
                                   4:21-cv-01039-KGB
                                   4:21-cv-01040-KGB
                                   4:21-cv-01041-KGB
                                   4:21-cv-01042-KGB
                                   4:21-cv-01043-KGB
                                   4:21-cv-01044-KGB
                                   4:21-cv-01045-KGB
                                   4:21-cv-01046-KGB
                                   4:21-cv-01047-KGB
                                   4:21-cv-01048-KGB
                                   4:21-cv-01049-KGB
                                   4:21-cv-01050-KGB
                                   4:21-cv-01051-KGB
                                   4:21-cv-01052-KGB
                                   4:21-cv-01053-KGB
                                   4:21-cv-01054-KGB
                                   4:21-cv-01055-KGB
                                   4:21-cv-01056-KGB
                                   4:21-cv-01057-KGB
                                   4:21-cv-01058-KGB
                                   4:21-cv-01059-KGB
                                   4:21-cv-01060-KGB
                                   4:21-cv-01061-KGB
          Case 4:21-cv-01026-BSM Document 4 Filed 11/09/21 Page 2 of 2




                                      4:21-cv-01062-KGB
                                      4:21-cv-01063-KGB

GARY M. ARNOLD, et al.                                                        DEFENDANT

                                   ORDER OF REASSIGNMENT

       The above styled cases were assigned to the docket of United States District Judge

Kristine G. Baker, on November 8, 2021. Because the Court is a licensed Arkansas attorney and

maintains her license and bar memberships, she would be considered a defendant in these cases.

Therefore, the cases should be reassigned.

       The Clerk’s Office is directed to issue a Notice of Reassignment.

       Dated this 9th day of November, 2021.

                                                   AT THE DIRECTION OF THE COURT
                                                   TAMMY H. DOWNS, CLERK


                                                   BY: Tracy M. Washington
                                                      Courtroom Deputy to United States
                                                      District Judge Kristine G. Baker




                                               2
